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John Morrison                         David C. Dinielli*
Robert Farris-Olsen                   Jim Knoepp*
MORRISON, SHERWOOD,                   Elizabeth Littrell*
WILSON, & DEOLA, PLLP                 SOUTHERN POVERTY LAW CENTER
401 N. Last Chance Gulch St.          400 Washington Avenue
Helena, MT 59601                      Montgomery, AL 36104
ph. (406) 442-3261                    ph. (334) 956-8200
fax (406) 443-7294                    fax (334) 956-8481
john@mswdlaw.com                      david.dinielli@splcenter.org
rfolsen@mswdlaw.com                   jim.knoepp@splcenter.org
Attorneys for Plaintiff Tanya Gersh   beth.littrell@splcenter.org
                                      Attorneys for Plaintiff Tanya Gersh
                                      *Admitted Pro Hac Vice


                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                            MISSOULA DIVISION


TANYA GERSH,
                                      Case No.: 9:17-cv-00050-DLC-JCL
       Plaintiff,

       vs.
                                      SECOND NOTICE OF PARTIES’
ANDREW ANGLIN,                        CONTINUED NEGOTIATIONS
                                      AND UPDATE TO DOCKET
       Defendant                      NUMBER 164 REGARDING THE
                                      PARTIES’ JOINT STIPULATIONS
and

STATE OF MONTANA,

        Intervenor.
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      COMES NOW, Plaintiff, TANYA GERSH, and Defendant, ANDREW

ANGLIN (the “Parties”), by and through their undersigned counsel, and notify the

Court of their continuing effort to reach agreement with respect to one of the items

listed in their Joint Stipulations, Agreements And Report On The Parties’ Motions

For Protective Orders And Motions To Compel, Dkt. No. 164, (“Joint

Stipulations”) by the deadline agreed upon. The Parties’ lawyers continue to

negotiate and are hopeful they will obtain client consent soon, and therefore have

agreed to seek another week’s time to reach agreement. Accordingly, the Parties

agree to continue their good faith negotiations and to amend their Joint Stipulation,

3(I)-(K), with the underlined dates, as follows:

         I. With respect to Requests Nos. 5, 10, 89-105 and Interrogatory 10, 1 the

             Parties agreed to consider whether to stipulate to an amount for Actual

             Damages in exchange for:

               i.   Plaintiff agreeing to withdraw Requests Nos. 5, 10, 89-105;

              ii.   Defendant agreeing to withdraw all discovery requests for

                    information concerning Plaintiff’s psychological, medical and

                    healthcare information, and


1
  Based on these Stipulations regarding Defendant’s financials, the Parties seek to
include in this provision the response to Interrogatory 10 as ruled on by the Court,
Dkt. No. 131 at 27 and Dkt. No. 160 at 2 (i.e., a copy of Defendant’s current
financial statement of his current net worth).
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       iii.   Defendant agreeing to seek no additional discovery and

              evidence concerning Plaintiff’s psychological, medical and

              healthcare information.

   J. The Parties agreed to provide each other with their positions on

      Stipulation 3(I), as set forth herein, by April 19, 2019.

   K. If the Parties do not agree to Stipulation 3(I), Defendant agreed to

      withdraw his objections to Requests Nos. 89-105 and to supplement

      his responses by April 26, 2019.



Dated April 12, 2019.



                                 Respectfully submitted,

                                 /s/ David Dinielli
                                 On behalf of all attorneys for Plaintiff.

                                 /s/ Marc Randazza
                                 On behalf of all attorneys for Defendant.
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                          CERTIFICATE OF SERVICE


      I hereby certify that on this date the foregoing document was filed through

the Court’s CM/ECF filing system, and by virtue of this filing notice will be sent

electronically to all counsel of record, including:

      Mathew M. Stevenson
      STEVENSON LAW OFFICE
      1120 Kensington, Suite B
      Missoula, Montana 59801
      matstevenson@bigskylegal.com
      Attorney for Defendant Andrew Anglin

      Marc J. Randazza
      RANDAZZA LEGAL GROUP, PLLC
      2764 Lake Sahara Drive, Suite 109
      Las Vegas, Nevada 89117
      mjr@randazza.com; ecf@randazza.com
      Attorney for Defendant Andrew Anglin

      Jay M. Wolman
      RANDAZZA LEGAL GROUP, PLLC
      100 Pearl Street, 14th Floor
      Hartford, Connecticut 06103
      jmw@randazza.com; ecf@randazza.com
      Attorney for Defendant Andrew Anglin
      Dale M. Schowengerdt
      MONTANA DEPARTMENT OF JUSTICE
      215 North Sanders
      PO Box 201401
      Helena, MT 59620-1401
      dales@mt.gov
      Attorney for Intervenor State of Montana
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      Jonathan W. Bennion
      MONTANA DEPARTMENT OF JUSTICE
      215 North Sanders
      PO Box 201401
      Helena, MT 59620-1401
      jonbennion@mt.gov
      Attorney for Intervenor State of Montana

      Matthew T. Cochenour
      MONTANA DEPARTMENT OF JUSTICE
      215 North Sanders
      PO Box 201401
      Helena, MT 59620-1401
      mcochenour2@mt.gov
      Attorney for Intervenor State of Montana


on this April 12, 2019.
                                   /s/ David Dinielli
                                   Attorney for Plaintiff Tanya Gersh
                                   on behalf of all Attorneys for Plaintiff
